             Case 24-10910-amc                      Doc          Filed 07/24/24 Entered 07/24/24 07:33:46                      Desc Main
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 Fill in this information to identify the case:

  Debtor 1       Bruce M. Mines

  Debtor 2

 United States Bankruptcy Court for the: Eastern District of Pennsylvania

 Case number :    24-10910-amc



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              U.S. Bank National Association, not in its individual Court claim no.                                                    4
     creditor:            capacity but solely as Trustee for the NRZ Pass-Through (if known):
                          Trust XVIII
     Last 4 digits of any number                                                                 Date of payment change:                   09/22/2024
     you use to identify the debtor's                                       5988                 Must be at least 21 days after date of
     account:                                                                                    this notice

                                                                                                 New total payment:                         $714.83
                                                                                                 Principal, interest, and escrow, if any


Part 1:       Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [X] No
      [ ] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law. Describe
                      the basis for the change. If a statement is not attached, explain why:

                            Current escrow payment:                                   New escrow payment:




Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [ ] No
      [X] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:         8.750%           New interest rate:          9.750%
                     Current Principal and interest payment: $445.26 New principal and interest payment: $465.40



Part 3:       Other Payment Change

             3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
                   [X] No
                   [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                                   agreement. (Court approval may be required before the payment change can take effect).
                                   Reason for change:
                                       Current mortgage payment:                               New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                           page 1
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Debtor 1 Bruce M. Mines                                                             Case number (if known)           24-10910-amc
                First Name             Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


     /S/ Jason Seals                                                                      Date
                                                                                                      7/24/2024
    Signature



Print:                       Jason Seals                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email              PLGinquiries@padgettlawgroup.com




Official Form 410S1                                                 Notice of Mortgage Payment Change                                           page 2
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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF PENNSYLVANIA
                                                            PHILADELPHIA DIVISION

In Re;
 Bruce M. Mines                                                         Case No.: 24-10910-amc
Debtor(s)                                                               Chapter: 13

                                                         CERTIFICATE OF SERVICE


                          July 24,2024
 I, hereby certify that on __________________________, a true and correct copy of the foregoing document was served via United States Mail with
                                     adequate prepaid postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Bruce M. Mines
1837 E Pastorius St
Philadelphia, PA 19138-1203


By Electronic Mail

Attorney for Debtor
MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107




                                                               /s/ Jason Seals
                                                                Jason Seals




Official Form 410S1                                    Notice of Mortgage Payment Change                                                 page 3
                                                                                                      165988_001_ARM
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                           P.O. Box 111209 Nashville, TN 37222
                           Return Service Only - Please do not send mail to this address

                                                                                                                                                 Business Hours (Central Time)
                                                                                                                                        8am-7pm Monday-Thursday, 8am-5pm
                                                                                                                                        Friday, 9am-12pm Saturday, Operating
                           RETURN SERVICE REQUESTED                                                                                                    hours are Central Time
                                                                                                                                                               (800) 495-7166

                           ESTATE OF RONALD DANIEL MINES
                           1837 E PASTORIUS ST
                           PHILADELPHIA, PA 19138

                                                                                                Date: 07/10/2024
                                                                                                Loan Number:
                                                                                                Property Address: 1837 E PASTORIUS ST
                                                                                                                  PHILADELPHIA, PA 19138

                                               Changes to Your Mortgage Interest and Payments on 08/22/2024
      Under the terms of your Adjustable-Rate Mortgage (ARM), you had a 6 month period during which your interest rate remained the same.
      That period ends on 08/22/2024 and as a result, your interest rate may change on that date. After that, your interest rate may change
      every 6 month(s) for the rest of your loan term. Any changes in your interest rate may also change your mortgage payment.
                                                                                     Current Rate                                                 New Rate
                                                                                 and Monthly Payment                                        and Monthly Payment
         Interest Rate                                                                8.75000%                                                    9.75000%
         Principal                                                                      $175.69                                                     $167.89
         Interest                                                                       $269.57                                                     $297.51
         Escrow (Taxes & Insurance)                                                     $249.43                                                     $249.43
         Total Monthly Payment                                                          $694.69                                            $714.83 due 09/22/2024



      Interest Rate: We calculated your interest rate on your adjustable rate mortgage (ARM) by taking a published "index rate" and adding a
      certain number of percentage points, called the "margin", and taking into consideration any applicable rounding and interest rate caps.
      Under your loan agreement, your index rate is 5.64272% and your margin is 4.37500%. The FTSE USD IBOR CONSUMER CASH FALLBACK
      6-MONTH is published daily in the FTSE RUSSELL WEBSITE.
      Rate Limit[s]: Your interest rate will never be greater than 13.12500% or less than 4.37500% over the life of the loan. Your interest rate can
      increase or decrease on any single change date by no more than 1.00000%.
      New Interest Rate and Monthly Payment: The table above shows your new interest rate and new monthly payment. These amounts are
      based on the FTSE USD IBOR CONSUMER CASH FALLBACK 6-MONTH index as of now, your margin, any applicable rate limitations as stated
      above, your loan balance of $36,616.89, and your remaining amortizing term of 126 months.
      Prepayment Penalty: Not Applicable.




      Fay Servicing, LLC is a debt collector, and information you provide to us will be used for that purpose. To the extent your original obligation was discharged, or is subject to an
      automatic stay under the United States Bankruptcy Code, this is being provided for informational purposes only and does not constitute an attempt to collect a debt or impose
      personal liability. Our office hours are: 8am-7pm Monday-Thursday, 8am-5pm Friday, 9am-12pm Saturday, Operating hours are Central Time. Call today: (800) 495-7166


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If You Anticipate Problems Making Your Payments:
   • Contact Fay Servicing at (800) 495-7166 as soon as possible.
   • If you seek an alternative to the upcoming changes to your interest rate and payment, the following options may be possible (most
       are subject to lender approval):
          -   Refinance your loan with us or another lender;
          -   Sell your home and use the proceeds to pay off your current loan;
          -   Modify your loan terms with us;
          -   Payment forbearance temporarily gives you more time to pay your monthly payment.
   • If you would like contact information for counseling agencies or programs in your area, call the U.S. Department of Housing and
       Urban Development (HUD) at (800) 569-4287 or visit http://hud.gov/offices/hsg/sfh/hcc/hcs.cfm. If you would like contact
       information for a State housing finance agency, visit the U.S. Consumer Financial Protection Bureau (CFPB) at
       http://www.consumerfinance.gov/mortgagehelp/.
ACH Debit Borrowers: If you have previously authorized Fay Servicing, LLC, to automatically debit your bank account each month for the
amount of your monthly payment of principal, interest, and escrow (if applicable), please note the amount of your next ACH debit will be
changed (increase/decrease) to reflect the amount of your new monthly payment as reflected herein. Fay Servicing, LLC, is authorized to
debit your bank account each month until you provide written or oral notice to stop. Termination request must be received by Fay
Servicing, LLC, at least three (3) business days prior to your next scheduled debit.
IF YOU ARE IN BANKRUPTCY, THIS IS NOT AN ATTEMPT TO COLLECT A DEBT. IF YOUR ACCOUNT WAS DISCHARGED IN BANKRUPTCY
WITHOUT A REAFFIRMATION, YOUR SERVICER IS NOT ATTEMPTING TO COLLECT OR RECOVER THE DISCHARGED DEBT AS YOUR PERSONAL
LIABILITY. INSTEAD, WE ARE PROVIDING THIS REQUIRED NOTICE THAT YOUR ADJUSTABLE RATE IS CHANGING.
AS A RESULT OF A BANKRUPTCY PROCEEDING, YOU MAY NOT BE PERSONALLY LIABLE FOR THE UNPAID PRINCIPAL BALANCE; HOWEVER, IF
WE (AS BENEFICIARY OR BENEFICIARY'S AGENT) RETAIN A SECURITY LIEN ON THE REAL PROPERTY, IT IS SUBJECT TO FORECLOSURE IN
ACCORDANCE WITH THE LAWS OF THE STATE WHERE LOCATED. IF YOU ARE NOT PERSONALLY LIABLE TO PAY THIS OBLIGATION BY REASON
OF A BANKRUPTCY PROCEEDING, THIS IS NOT AN ATTEMPT TO COLLECT A DEBT, BUT IT IS INTENDED FOR INFORMATIONAL PURPOSES.
QUESTIONS REGARDING YOUR BANKRUPTCY SHOULD BE MADE DIRECTLY TO YOUR ATTORNEY OR THE COURT APPOINTED TRUSTEE.
Please see additional Disclosures enclosed.
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                                                            DISCLOSURES
      Federal law requires us to advise you that Fay Servicing, LLC (NMLS I        as the servicer of your loan, is responsible for collecting
      your payments; however, in some circumstances we may be acting as a debt collector, in those circumstances, this communication is
      from a debt collector attempting to collect a debt and any information obtained may be used for that purpose.

      CREDIT REPORTING
      We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your
      account may be reflected in your credit report. As required by law, you are hereby notified that a negative credit report reflecting on
      your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit obligations.

      IMPORTANT BANKRUPTCY NOTICE
      Bankruptcy (if applicable) - To the extent your original obligation was discharged or is subject to an automatic stay of bankruptcy
      under Title 11 of the U.S. Code, this statement is for compliance and/or informational purposes only and does not constitute an
      attempt to collect a debt or to impose personal liability for such obligation. However, Fay Servicing, LLC retains rights under its
      security instrument, including the right to foreclose its lien.

      NOTICE TO CUSTOMERS
      To provide us with a Notice of Error about the servicing of your loan, or make a Request for Information about the servicing of your
      loan, please contact us at:
                                                                Fay Servicing, LLC
                                                      Attn: Customer Service Department
                     Attn: Customer Service Department c/o Registered Agent Solutions, Inc 3000 Professional Drive, Suite A
                                                              Springfield, IL 62703

      Should you have any questions or concerns regarding your loan, please contact us at (800) 495-7166. Our office is open 8am-7pm
      Monday-Thursday, 8am-5pm Friday, 9am-12pm Saturday, Operating hours are Central Time.

      MINI MIRANDA
      This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained will be used
      for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and does not imply that we are
      attempting to collect money from anyone who has discharged the debt under the bankruptcy laws of the United States.

      HUD STATEMENT
      Pursuant to Section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
      counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD-approved housing
      counseling agencies by calling the HUD nationwide toll-free telephone number at (800) 569-4287.

      EQUAL CREDIT OPPORTUNITY ACT NOTICE
      The Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color, religion,
      national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding contract); because all or part
      of the applicant’s income derives from any public assistance program; or because the applicant has in good faith exercised any right
      under the Customer Credit Protection Act. The federal agency that administers compliance with this law concerning this creditor is:

                                                            Federal Trade Commission
                                                             Equal Credit Opportunity
                                                          600 Pennsylvania Avenue, NW
                                                              Washington, DC 20580
                                               1-877-FTC-HELP (1-877-382-4357); TTD: 1-866-653-4261
                                                                   www.ftc.gov
      Servicemembers Civil Relief Act (SCRA) - If you or any other person on this mortgage is a servicemember or dependent of a
      servicemember, you may be entitled to certain protections under the Federal Servicemembers Civil Relief Act (50 U.S.C. Sec 501)
      regarding the servicemember’s interest rate and the risk of foreclosure. Counseling for qualified individuals is available at agencies
      such as Military OneSource and Armed Forces Legal Assistance. To obtain information on counseling assistance, contact the
      OneSource Center, toll free, at (800)-342-9647 or visit their website: http://legalassistance.law.af.mil.content/locator.php.

      PROPERTY INSPECTIONS
      If your loan account is in default, in accordance with the terms of your Mortgage/Deed of Trust, Fay Servicing, LLC may inspect your
      property to determine that it is being maintained and occupied. As needed or required, Fay Servicing, LLC may secure the property.
      Securing the property may result in locks being added or changed in an effort to protect the property and may also include
      winterizing and/or mowing the property as necessary. Any fees for such an inspection and/or property services may be charged to
      your account.

      Disputed Debts: If you are disputing the debt, or a portion of the debt, please note that this statement is for information and
      compliance purpose only. It is not an attempt to collect a debt against you.




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